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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 VS.                                       CASE NO: 2:93-cr-102-FtM-29

 ROBERT UPSHAW


  ORDER DENYING DEFENDANT’S MOTION FOR PRISON-TERM REDUCTION UNDER
           18 U.S.C. § 3582(C)(2) BASED ON USSG AMEND. 782

       This matter come before the Court on defendant’s Motion for

 Reduction of Sentence Based on Retroactive Guideline Amendment

 ("Amendment 782") Effective November 1, 2014, Concerning Drug

 Offenses (Doc.# 1,203).       Upon review, on November 14, 2014, the

 Federal   Public    Defender's   Office    was   appointed   to   represent

 defendant in connection with the motion.         (Doc. #1207.)

       On October 9, 2015, the Federal Public Defender’s Office filed

 a Notice (Doc. #1216) indicating that it had reviewed the case,

 and could not argue in good faith that defendant was entitled to

 a reduction in his sentence.        The Federal Public Defender’s Office

 was   permitted    to   withdraw,    defendant   was   granted    leave   to

 supplement his own motion, and the government was directed to file

 a response.     (Doc. #1217.)    Defendant did not file a supplement,

 and the government filed its Response to Amendment 782 Order (Doc.

 #1218).
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       Pursuant to the Omnibus Order In Re: Amendment 782, United

 States Sentencing Guidelines, 6:14-mc-78-ORL-22, the United States

 Probation Office issued a Memorandum indicating that defendant was

 ineligible for a reduction because he was sentenced as a career

 offender.      Defendant       asks   the   Court   to   consider   his   post-

 conviction rehabilitation efforts in prison, and to consider a

 reduction based on 18 U.S.C. § 3553(a) factors.                At the time of

 sentencing, defendant’s Base Offense Level was a 38 based on the

 offense involving “at least 1.5 kilograms” of cocaine base. 1                The

 career offender enhancement was not greater than the Total Offense

 Level of 38, and therefore defendant’s Enhanced Offense Level

 remained at 38.       In light of his extensive criminal history,

 defendant    scored   at   a    Criminal    History      Category   VI   placing

 defendant in an applicable guideline range of 360 months to life

 imprisonment.

      Having reviewed the facts in both the original presentence

 investigation report and the August 18, 2015 Memorandum by the

 United States Probation Office, and taking into account the factors

 set forth in 18 U.S.C. § 3553(a) and the need to consider the

 nature and seriousness of any danger posed by a reduction, see

 U.S. Sentencing Guidelines Manual § 1B1.10 cmt. n.1, the Court


  1 More specifically, at sentencing, the Court found defendant was
  accountable for 3 kilograms of cocaine base. United States v.
  Upshaw, 362 F. App'x 118, 119 (11th Cir. 2010).




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 finds that defendant does not qualify for a reduction in his

 sentence.      As   with   the   previous      Amendment     to       the   Sentencing

 Guidelines, even if the Base Offense Level is lower for 3 kilograms

 of cocaine base, defendant was designated as a career offender.

 As such, the guideline range for a career offender in a Criminal

 History Category VI would remain unchanged and Amendment 782 would

 not reduce defendant’s sentence.             See United States v. Moore, 541

 F.3d 1323, 1330 (11th Cir. 2008) (“Where a retroactively applicable

 guideline amendment reduces a defendant's base offense level, but

 does not alter the sentencing range upon which his or her sentence

 was   based,   §    3582(c)(2)    does       not   authorize      a    reduction     in

 sentence.”).        Therefore,   the     motion    for   a   reduction        will   be

 denied.

       Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       Defendant’s     Motion     for   Reduction      of     Sentence        Based   on

 Retroactive    Guideline       Amendment       ("Amendment        782")      Effective

 November 1, 2014, Concerning Drug Offenses (Doc. #1,203) is DENIED.

       DONE and ORDERED at Fort Myers, Florida, this                         23rd     day

 of December, 2015.




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